        Case 1:17-cv-00173-VJW Document 23 Filed 09/22/17 Page 1 of 5




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                                         No. 17-173C
                                 (Filed September 22, 2017)
                                 NOT FOR PUBLICATION
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                                                                   SEP 2 2 2017
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                                          *                       U.S. COURT OF
RONALD FRANCIS CROTEAU,                   *                      FEDERAL CLAIMS
                                          *
                    Plaintiff,            *
             v.                           *
                                          *
THE UNITED STATES,                        *
                                          *
                    Defendant.            *
                                          *
************************

                    MEMORANDUM OPINION AND ORDER

WOLSKI, Judge.

       In this case brought by Ronald Francis Croteau, Mr. Croteau alleges that he
is entitled to $120,315,000 in damages for constitutional violations and torts
committed by unnamed agents of the Internal Revenue Service. For the reasons
stated below, the court finds that it lacks subject-matter jurisdiction over plaintiff's
claims. Defendant's motion to dismiss the case is accordingly GRANTED.

                                   I. BACKGROUND

       Plaintiff is currently serving a 56-month prison sentence after being
convicted of ten counts of making false, fictitious, or fraudulent claims on his tax
returns in violation of 18 U.S.C. sections 2 and 287, and one count of corruptly
interfering with t he administration of internal revenue laws in violation of 26
U.S.C. § 7212(a). United States v. Croteau, 819 F.3d 1293, 1297 (11th Cfr. 2016).

       Plaintiff filed the complaint in this case prose on February 6, 2017, along
with an application to proceed in forma pauperis. Plaintiffs complaint is irregular
and difficult to decipher. He alleges violations of his First, Fourth, Sixth, Seventh,
and Thirteenth Amendment rights, a violation of his Fifth Amendment due process
right, and a violation of the Tenth Amendment. Compl. at 31- 34. Further, plaintiff
alleges tort liability for malpractice and fraud. Compl. at 34, 35. Plaintiff also



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        Case 1:17-cv-00173-VJW Document 23 Filed 09/22/17 Page 2 of 5



appears to argue that ho is entitled to unspecified equitable relief. Compl. at 6, 14,
29-30.

       On April 7, 2017, the government moved to dismiss the complaint for lack of
subject-matter jurisdiction pursuant to Rule 12(b)(l) of the Rules of the United
States Court of Federal Claims (RCFC). Defs Mot. to Dismiss at 1. The
government argued that Mr. Croteau does not identify a money-mandating
provision which gives this court jurisdiction over the constitutional violations he
alleges; that our court has no jurisdiction over Mr. Croteau's tort claims; and that
Mr. Croteau's grievances which relate to a criminal prosecution before the U. S.
District Court for the Middle District of Florida cannot create a basis for an action
in this court. Id. at 3-5.

       On April 24, 2017, plaintiff filed a response to the government's motion to
dismiss the case. Mister Croteau's argument is difficult to follow, but he appears to
have argued that the court does have jurisdiction to hear his case, based at least in
part on an unusual theory of legal personhood. Pl.'s Resp., ECF No. 7 at 2, 7.
Plaintiff also contended that defendant had defaulted, based on his erroneous belief
that the motion to dismiss the case was filed too late. Id. at 7. He also reiterated a
claim of entitlement to equitable relief. Id.

       The government filed a reply to plaintiff's motion to dismiss on May 4, 2017.
Def.'s Reply, ECF No. 12. The government reiterated its position that the court
does not possess jurisdiction to entertain any of Mr. Croteau's claims. Id.

       Plaintiff submitted a further set of documents on May 19, 2017. These were
filed as a status report and a sur-reply in response to the government's motion to
dismiss the case. In the latter, plaintiff reiterated his argument that the court has
jurisdiction over his claim and requested judgment against the defendant. Sur-
reply, ECF No. 15 at 1.

      On June 9, 2017, plaintiff filed a document styled "MOTION BY VIDEO
CONFERENCE TO HEAR FINAL ARGUMENT BY PLAINTIFF AND REQUEST
FOR FINAL DEFAULT JUDGMENT." ECF No. 16 at 1. This document reiterated
Mr. Croteau's arguments regarding jurisdiction and entitlement to judgment and
damages.

       The government filed a response to Mr. Croteau's motion for default
judgment on June 22, 2017. Def.'s Resp., ECF No. 17. The government argued that
Mr. Croteau is not entitled to default judgment because the government's motion to
dismiss this case was timely filed. The government also reiterated its position that
this case is outside of the jurisdiction of the court.

       Plaintiff filed another collection of documents on August 14, 2017. These
have been treated variously as a supplemental brief to his motion to dismiss, a reply
to the government's motion for default judgment, a status report, and a motion for
                                         -2-
        Case 1:17-cv-00173-VJW Document 23 Filed 09/22/17 Page 3 of 5




writ of habeas corpus, which the Court denied. The Court also denied Mr. Croteau's
motion for default judgment and request for oral argument. Order (Aug. 31, 2017)
at 2, ECF No. 22.

                                  II. DISCUSSION

A. Subject-Matter Jurisdiction

       Whether the court has subject-matter jurisdiction is a threshold issue that
may be brought up at any time, either by the parties or by the court sua sponte.
Folden v. United States, 379 F.3d 1344, 1354 (Fed. Cir. 2004). Pursuant to RCFC
12(h)(3), "[i]f the court determines at any time that it lacks subject-matter
jurisdiction, the court must dismiss the action." In making this determination, "the
allegations stated in the complaint are taken as true and jurisdiction is decided on
the face of the pleadings." Folden, 379 F. 3d at 1354.

      The Tucker Act provides this court with jurisdiction over "any claim against
the United States founded either upon the Constitution, or any Act of Congress or
any regulation of an executive department, or upon any express or implied contract
with the United States, or for liquidated or unliquidated damages in cases not
sounding in tort." 28 U.S.C. 149l(a)(l). The provision of the Constitution or Act of
Congress cited as the basis for the claim must be money-mandating. See Smith v.
United States, 709 F.3d 1114, 1116 (Fed. Cir. 2013) ("To be cognizable under the
Tucker Act, the claim must be for money damages against the United States, and
the substantive law must be money-mandating.").

B. Analysis

       Assuming that Mr. Croteau's allegations are true and taking into
consideration Mr. Croteau's pro se status by broadly construing his arguments, the
Court nevertheless finds that none of his claims falls within our jurisdiction. This
court cannot entertain this case unless a jurisdictional basis has been properly
invoked. See RCFC 12(h)(3).

       Mr. Croteau alleges violations of the First, Fourth, Sixth, Seventh, Tenth,
and Thirteenth Amendments and the Due Process Clause of the Fifth Amendment.
None of the constitutional provisions Mr. Croteau cites are money-mandating
provisions. Plaintiff cannot base our jurisdiction on violations of the First, Fourth,
Sixth, Seventh, Tenth, or Thirteenth Amendments, as those amendments do not
mandate the payment of money damages when violated. See United States v.
Connolly, 716 F.2d 882, 888 (Fed. Cir. 1983) (First Amendment); Dupre v. United
States, 229 Ct. Cl. 706, 706 (1981) (Fourth and Sixth Amendments); Webster v.
United States, 7 4 Fed. Cl. 439, 444 (2006) (Seventh Amendment); Fry v. United
States, 72 Fed. Cl. 500, 507 (2006) (Fourth and Tenth Amendments). Further, to
the extent plaintiff relies on the Due Process Clause of the Fifth Amendment, it is


                                         -3-
        Case 1:17-cv-00173-VJW Document 23 Filed 09/22/17 Page 4 of 5




not money-mandating.t Smith v. United States, 709 F.3d 1114, 1116 (Fed.Cir.2013)
(holding that the Due Process Clause of the Fifth Amendment is not money-
mandating). Finally, this Court lacks jurisdiction to entertain claims based upon
the Thirteenth Amendment. Carter v. United States, 228 Ct. Cl. 898, 900 (1981).

       Plaintiff also challenges the decisions of a United States district court.
Compl. at 34. This court does not have jurisdiction over appeals of the actions of
other courts. See Joshua v. United States, 17 F.3d 378, 380 (Fed. Cir. 1994) (holding
that this court "does not have jurisdiction to review the decisions of district courts
... relating to proceedings before those courts"); Vereda, Ltda. v. United States, 271
F.3d 1367, 1375 (Fed. Cir. 2001) (explaining that this court is not an appellate
tribunal, and "does not have jurisdiction to review the decisions of district courts");
Bafford v. United States, No. 09-030, 2009 WL 2391785, at *4 (Fed. Cl. Aug. 3, 2009)
(explaining that this court does not have jurisdiction to review the decisions of
federal courts of appeal).

        Mister Croteau also appears to allege tort claims for fraud and professional
malpractice. Compl. at 34-35, 37. The Tucker Act expressly places within our
jurisdiction only matters "not sounding in tort." 28 U.S.C. § 149l(a)(l). Fraud and
malpractice claims sound in tort and are not within the Court's jurisdiction. See,
e.g., Sellich v. United States, 222 Ct. Cl. 679, 681 (1980) (fraud); McCullough u.
United States, 76 Fed. Cl. 1, 4 (2006) (malpractice).

        The final pages of plaintiff's complaint list a number of the Federal Rules of
Criminal Procedure as well as various federal statutes. Compl. at 35-36. This
court has no jurisdiction over the criminal claims or claims against individuals
provided for in these statutes. See Stanwych v. United States, 127 Fed. Cl. 308, 314
(2016) (criminal); Stephenson v. United States, 58 Fed. Cl. 186, 190 (2003)
(individuals). In these pages, Mr. Croteau also appears to allege a violation of a
contract between himself and the state of Florida. Compl. at 36. Suits against state
governments are outside of this court's jurisdiction; the United States government
is the only proper plaintiff before this court. Id. Moreover, the document plaintiff
references is an unusual statement he wrote seemingly redefining the meaning of
his citizenship, which he then had notarized as an Apostille from the State of
Florida. Pl.'s Suppl. Br. (Aug. 31, 2017) at 4-5. He curiously refers to this as a
contract with the United States, although it is obviously on its face not any such
thing. See id. at 2; City of El Centro u. United States, 922 F.2d 816, 820-824 (Fed.
Cir. 1990).


t The Due Process Clause of the Fifth Amendment may only be a basis for our
jurisdiction when a claim concerns an illegal exaction. See Aerolineas Argentinas v.
United States, 77 F.3d 1564, 1573 (Fed. Cir. 1996); Coleman v. United States, No.
13-431C, 2014 WL 949984, at *3 (Fed. Cl. Mar. 7, 2014).


                                         -4-
         Case 1:17-cv-00173-VJW Document 23 Filed 09/22/17 Page 5 of 5




       Finally, plaintiff seeks equitable relief. It is difficult to decipher the exact
form that Mr. Croteau believes t his relief should t ake, but h e does seem to request a
declaratory judgment to t he effect that h e is not a citizen of the United States.
Compl. 26. This court, h owever, has no authority to issue equitable relief t hat is not
collater al to a valid claim of monetary damages. See Nat'l Air Traffic Controllers
Ass'n v. United States, 160 F.3d 714, 716 (Fed. Cir. 1998).

                                 III. CONCLUSION
       Because plaintiff's allegation s do not raise a matter within this court's
limited jurisdiction, t he defendant's motion to dismiss t his case is h ereby
GRANTED. The Clerk is directed to close the case.

IT IS SO ORDERED.




                                          Judge




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